


 
   *119
   
  PER CURIAM.
 

  Brian Murphy appeals the summary denial of his Florida Rule of Criminal Procedure 3.850 motion, which raised four claims. Because the denial order fails to provide an adequate rationale or specific references to the record to support the denial, we reverse the order on appeal and remand with instructions that the trial court either enter a sufficient order or conduct an evidentiary hearing on the claims.
  
   See, e.g., MeLin v. State,
  
  827 So.2d 948, 954 (Fla.2002).
 

  REVERSED AND REMANDED WITH INSTRUCTIONS.
 

  TORPY, LAWSON and EVANDER, JJ., concur.
 
